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                                     United States District Court,Eastern District of New York
UNITED STATES OF AMERICA                                                                ORDER SETTING CONDITIONS OF RELEASE
                                                                                        AND APPEARANCE BOND
                       V.


'/           \ V                        AC               Defendant.
                                                                                        Case Number: 2^0 " i Z 3                           ^
                                                                       RELEASE ORDER

     It is hereby ORDERED that the above-named defendant be released subject to the Standard Conditions of Release on the reverse and as follows:
     [ ] Upon Personal Recognizance Bond on his/lier promise to appear at all scheduled proceedings as required, or
      [y/i Upon Bond executed by the defendant in the amount of$                              /                        ,and
              secured by[ ]financially responsible sureties listed below and/or collateral set forth below.                         ^^                 Q Qi?
                                                                 Additional Conditions of Release                                                 '
      The Court finding that release under the Standard Conditions of Release on the reverse will not by themselves reasonably assure the
appearance ofthe defendant and/or the safety of other persons and the community,IT IS FURTHER ORDEREDa&ibllows:
            T^ defendant must re^in in and may not leave the following areas without Court permission: [^^^^nrsrlTCity;[i^^ng Island, NY;
           [\/New York State; M New Jersey;[]                                                          and travel to and from this Court and the permitted areas.
[] 2.       The defendant must avoid all contact with the following persons or entities: ..fJ? ^
            The defendant must avoid and not go to any ofthe following locations:
            The defendant must surrender all passports to Pretrial Services by        • and not obtain other passports or international travel documents.
            The defendant is placed under the supervision ofthe Pretrial Services Agency subject to the Special Conditions on the reverse and:
            a. is subject to random visits by a Pretrial Services officer at defendant's residence and/or place of work;
     &             must report   as directed by Pretrial Services or[ ]in person              times per           and/or[ ]by telephone               times per          .
     [             must undergo[]testing,[ ]evaluation and/or[]treatment for substance abuse, including alcoholism, as directed by Pretrial Services,
               must undergo evaluation and treatment for mental health problems, as directed by Pretrial Services,
     [n/       is subject to the following location restriction program with location monitoring, as directed by Pretrial Services:
           []home incarceration: restricted to home at all times, except for attorney visits, court appearances and necessary medial treatment;
           [v^home detention: restricted to home at all times, except for attorney visits, court appearances, medical treatment,[^^eligious services,
              [yfemployment,[]school or training,[tether activities approved by Pretrial Services,[]
           curfew: restricted to home every day from                        to                     ,or [ ]as directed by Pretrial Services.
     4
     M Defendant must pay all or part ofthe cost of any required testing, evaluation, treatment and/or location monitoring with personal funds,
            based upon ability to pay as determined by the Court and the Pretrial Services Agency, and/ or from available insurance.

iy\ 6.      Other Conditions:
                   /
                                             Cy         /
                                                                      APPEARANCE BOND                                 ■f
1, the undersigned defendant, and each surety who signs this bond, acknowledge that 1 have read this Appearance Bond and, and have either read all
the other conditions of release or have had those conditions explained. 1 furfoer acknowledge that 1 and my personal representatives, jointly and
severally, are bound to pay the United States of America the sum ofS             I7Of             OO             and that this obligation is secured with the below
interest in the following property ("Collateral") which 1 represent is/are free and clear of liens except as otherwise indicated:
     r 1 cash deposited in the RggistrViiof the Court iji,the sum of $      ,           „ /                            \        i          .      7
     rjfpremises located at:                                 ^                                                                            ^ ^          y/     &


     yf 1 also agree to execute a confession ofjudgment, piortgage or lien in form approved by the U.S. Attorney which shall be duly filed with the
     proper local and state authorities on or before                   7 2-0
Each owner of tlie above Collateral agrees not to sell the property, allow furtlier claims or encumbrances to be made against it, or do anything to
reduce its value while this Appearance Bond is in effect.
Forfeiture of the Bond. This Appearance Bond may be forfeited if the defendant fails to comply with any of the conditions set forth above and on the
reverse. The defendant and any surety who has signed this form also agree that the court may immediately order the amount of the bond surrendered
to the United States, including any security for the bond, if the defendant fails to comply with the above agreement. The court may also order a
judgment of forfeiture against the defendant and against each surety for the entire amount of the bond, including any interest and costs.

                                                  Address:
                                                                                                           3r                                               Ah /Pl -:. J
                                        Surety

                                                  Address:                                                     Tf-"                                                     010
 j         "Zvlv^V
                                                  Address:
                                       , Surety
     I acknowledge that I am the defendant in th                                                          ditions of release and of the penalties and sanctions set
forth on the front and reverse sides of this form.



Release of the Defendant is hereby ordered on                     A-3             -J-    20
                                                                                                                                                      Signature of Defendant




                                                                                 Distribution:      Canary - Court     Pink - Pretrial Services       Goldenrod -Defendant
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                                                                                                                            Page 2of ^i^^ages
 Defendant: Timothy Martinez                                                           Dkt. No. 1:20-00123M-001



                                                    Siinnlftfiiftntfll rnnditinns of Release



 The Court finding that additional conditions ofrelease are necessary to assure the safety ofthe community,IT IS FURTHER
 ORDERED that the defendant is subject to the following conditions of release:

[13] The defendant shall not have any contact or association with any person under the age of 18, except when the minor is in the
     presence ofanother adult who is the parent or legal guardian ofthe minor. The defendant may not communicate with any
     person under the age of 18 in writing, over the telephone or via any electronic means except for communications with the
       following:                                                                         ^
                13the defendant's biological children or minor-aged legal dependents;
              □the defendant's biological children or minor-aged legal dependents, but contingent upon the completion of a
       mental health evaluation specific to the offense indicating the defendant does not pose a danger to such persons.

       The defendant shall avoid areas frequented by children under the age of 18, including school yards, parks, playgrounds, fast
       food restaurants near schools and arcades.


       Maintain residence at a location approved by Pretrial Services, or
                □the defendant must reside at

       The defendant must avoid all contact, direct or indirect, with any person who is or who may become a victim or potential
       witness in the subject investigation or prosecution.

       The defendant must undergo a mental health evaluation and or treatment specific to the offense charged, as directed by the
       U.S. Pretrial Services Agency.

       The defendant may not use a computer and/or access the Internet through any means, except for the following:
               13 computer use and internet access is permitted only as may be necessary for employment or school purposes, with
       the prior approval of Pretrial Services, but not for employment involving contact with any individual under the age of 18.
               13computer use and internet access is permitted only as may be necessary to communicate with Pretrial
       Services, defense counsel, treatment provider, or anyone else with prior approval from Pretrial Services.

       If access to the Internet is permitted, the defendant may have only one email address and must give Pretrial Services access to
       the account.


[13]   The U.S. Pretrial Services Agency may inspect any computer or device with Internet access, data and storage media
       devices, and/or external hard drives belonging to the defendant or located within his residence or privately owned business,
       and install computer monitoring software as deemed appropriate. The defendant must pay all or part of the cost of the
       monitoring software installed, subject to his ability to pay, as determined by the U.S. Pretrial Services Agency.

       Other:                              Vo                                                                   >4^ PTSA-                        ^
                                        C4J                                                                           j               A

                 I acknowledge that I am the defendant In this case and that I am aware of these supplemental conditions of release and of the
       penalties and sanctions set forth on the back of the Release Order.


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 SO ORDERED on February 7,2020.
